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                             UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF OHIO
                                   EASTERN DIVISION

  DANIELLE SERINO                                  CASE NO. 1:21 CV 58

          Plaintiffs,                              JUDGE SOLOMON OLIVER, JR.

   vs.

  REVENUE ASSISTANCE CORP..

          Defendant(s)

                        STIPULATION OF DISMISSAL WITH PREJUDICE

         Plaintiff Danielle Serino and Defendant Revenue Assistance Corporation, through their

respective counsel, hereby stipulate that Plaintiff’s Complaint is hereby dismissed with prejudice

pursuant to Civ. R. 41(a)(1)(A)(ii)

Respectfully submitted,

/s/ Marc E. Dann, Esq .                          /s/ Boyd W. Gentry
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Counsel for Plaintiff Danielle Serino
                                                 Counsel for Defendant
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                               CERTIFICATION OF SERVICE

       I hereby certify that on July 30, 2021, a copy of the foregoing Notice of Voluntary

Dismissal was filed using the Court’s CM/ECF electronic filing system, which will effectuate

service on all counsel of record.

                                            /s/ Marc E. Dann, Esq .
                                            Marc E. Dann (0039425)
                                            Brian D. Flick (0081605)
                                            DannLaw
                                            Counsel for Plaintiff Danielle Serino




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